                      Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21$86$
                                                                        Page 1 of 14
 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                           DistrictDistrict
                                                      __________    of Columbia
                                                                            of __________

               In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                       )
           or identify the person by name and address)                        )              Case No. VZ
  EIGHT U.S. POSTAL PARCELS LOCATED AT THE                                    )
      WASHINGTON, DC PROCESSING AND                                           )
   DISTRIBUTION CENTER IN WASHINGTON, DC
                                                                              )

     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
  Please see Attachment A

 located in the                                    District of                 Columbia                 , there is now concealed (identify the
 person or describe the property to be seized):
  Please see Attachment B


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔ evidence of a crime;
                u
                ✔ contraband, fruits of crime, or other items illegally possessed;
                u
                  ✔ property designed for use, intended for use, or used in committing a crime;
                  u
                  u a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                                                               Offense Description
         21 U.S.C. § 841(a)(1)                     Possession with the Intent to Distribute Controlled Dangerous Substances
         21 U.S.C. § 843(b)                        Transportation of Controlled Dangerous Substances via the Unites States Mail
         21 U.S.C. § 846                           Conspiracy to Distribute Controlled Dangerous Substances
           The application is based on these facts:
         Please see the Affidavit

            ✔ Continued on the attached sheet.
            u
            u Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is   requested under
              18 U.S.C. § 3103a, the basis of which is set forth on the he attached sheet.


                                                                                                      Applicant’s signature

                                                                                      Andrey Taveira Da Silva, USPIS Postal Inspector
                                                                                                        Printed name and title

6ZRUQWREHIRUHPHRYHUWKHWHOHSKRQHDQGVLJQHGE\PHSXUVXDQWWR)HG5&ULP3DQG G  



 Date:       July 7, 2021
                                                                                                        Judge’s signature

 City and state: Washington, DC                                              * 0LFKDHO+DUYH\ , U.S. Magistrate Judge
                                                                                                      Printed name and title
                                                                                                     $86$
                           Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 2 of 14

AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original
                                                                                     9                         u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. VZ
      EIGHT U.S. POSTAL PARCELS LOCATED AT THE                              )
          WASHINGTON, DC PROCESSING AND                                     )
       DISTRIBUTION CENTER IN WASHINGTON, DC                                )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B




          YOU ARE COMMANDED to execute this warrant on or before           July 20, 2021         (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        G. Michael Harvey                    .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:            July 7, 2021
                                                                                                          Judge’s signature

City and state: Washington, DC                                                  *0LFKDHO+DUYH\ , U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 3 of 14
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
  VZ
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


         ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQYHQWRU\LVFRUUHFWDQGZDVUHWXUQHGHOHFWURQLFDOO\DORQJZLWKWKHZDUUDQW
WRWKHGHVLJQDWHGMXGJHSXUVXDQWWR)HG5&ULP3DQG I  ' 



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
          Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 4 of 14




                                      ATTACHMENT A
                                     Property to be searched

       The item to be searched is specifically identified as the following parcel:

Subject     Express (E) or Priority (P) and      From:                  To:
Parcel      Tracking ID number                   Name and Address       Name and Address


1.          (P) 9505 5065 6461 1179 3802 63      No Name or Sender      2901 32ND ST SE
                                                 Address on Parcel      Washington DC 20020-1453


2.          (P) 9505 5065 6461 1179 3802 49      No Name or Sender      2901 32ND ST SE
                                                 Address on Parcel      Washington DC 20020-1453


3.          (P) 9505 5065 6461 1179 3802 25      No Name or Sender      114 MICHIGAN AVE NE
                                                 Address on Parcel      APT 43H
                                                                        Washington DC 20017-4305
4.          (P) 9505 5065 6461 1179 3802 01      No Name or Sender      114 MICHIGAN AVE NE
                                                 Address on Parcel      APT 43H
                                                                        Washington DC 20017-4305
5.          (P) 9505 5065 6461 1179 3803 24      No Name or Sender      2422 ELVANS RD SE
                                                 Address on Parcel      APT 203
                                                                        Washington DC 20020-3587
6.          (P) 9505 5065 6461 1179 3803 48      No Name or Sender      2422 ELVANS RD SE
                                                 Address on Parcel      APT 203
                                                                        Washington DC 20020-3587
7.          (P) 9505 5065 6461 1179 3803 00      No Name or Sender      2424 ELVANS RD SE
                                                 Address on Parcel      APT 201
                                                                        Washington DC 20020-3588
8.          (P) 9505 5065 6461 1179 3802 87      No Name or Sender      2424 ELVANS RD SE
                                                 Address on Parcel      APT 201
                                                                        Washington DC 20020-3588

       The aforementioned parcels are currently located at the Washington, DC Processing and
Distribution Center in Washington, DC 20066.
         Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 5 of 14




                                         ATTACHMENT B:

                            DESCRIPTION OF ITEMS TO BE SEIZED
       All records and information that constitute fruits, evidence, and instrumentalities of

violations of 21 U.S.C. §§ 841 and 846, and 21 U.S.C. § 843(b), including but not limited to:

                  a. Narcotics or other controlled substances;

                  b. Narcotics trafficking paraphernalia;

                  c. United States currency or other financial instruments;

                  d. Records related to narcotics suppliers, customers, and co-conspirators, and
                     related identifying information;

                  e. Types, amounts, and prices of drugs trafficked as well as dates, places, and
                     amounts of specific transactions;

                  f. Any information related to sources of drugs (including names, addresses,
                     phone numbers, or any other identifying information); and

                  g. Indicia of possession, custody, or control, including any information related
                     to the use of false or fraudulent identities
          Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 6 of 14




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
                                                     Case No. 21-sw-191
 EIGHT U.S. POSTAL PARCELS
 LOCATED AT THE WASHINGTON, DC
 PROCESSING AND DISTRIBUTION
 CENTER, WASHINGTON, DC

                     AFFIDAVIT IN SUPPORT OF APPLICATION
                 FOR A SEARCH WARRANT FOR U.S. POSTAL PARCEL

       Your Affiant, Andrey Taveira Da Silva, United States Postal Inspector, Washington DC,

being duly sworn, hereby deposes and states as follows:

I.     Subject Parcels

       1.      This is an Affidavit submitted in support of an application for a search warrant for

eight (8) subject U.S. Mail Parcels, hereinafter “Subject Parcels.” This Subject Parcels are

currently located at the Washington, DC Processing and Distribution Center in Washington, DC

20066. Based on the facts set forth below, I submit there is probable cause to believe that the

Subject Parcels contains evidence of violations of 21 U.S.C. §§ 841(a)(1) (drug trafficking), 843(b)

(drug trafficking by mail), and 846 (drug trafficking conspiracy). The Subject Parcels are

specifically identified as follows:




Subject     Express (E) or Priority (P) and       From:                 To:
Parcel      Tracking ID number                    Name and Address      Name and Address


1.          (P) 9505 5065 6461 1179 3802 63       No Name or Sender     2901 32ND ST SE
                                                  Address on Parcel     Washington DC 20020-1453
         Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 7 of 14




2.          (P) 9505 5065 6461 1179 3802 49      No Name or Sender      2901 32ND ST SE
                                                 Address on Parcel      Washington DC 20020-1453


3.          (P) 9505 5065 6461 1179 3802 25      No Name or Sender      114 MICHIGAN AVE NE
                                                 Address on Parcel      APT 43H
                                                                        Washington DC 20017-4305
4.          (P) 9505 5065 6461 1179 3802 01      No Name or Sender      114 MICHIGAN AVE NE
                                                 Address on Parcel      APT 43H
                                                                        Washington DC 20017-4305
5.          (P) 9505 5065 6461 1179 3803 24      No Name or Sender      2422 ELVANS RD SE
                                                 Address on Parcel      APT 203
                                                                        Washington DC 20020-3587
6.          (P) 9505 5065 6461 1179 3803 48      No Name or Sender      2422 ELVANS RD SE
                                                 Address on Parcel      APT 203
                                                                        Washington DC 20020-3587
7.          (P) 9505 5065 6461 1179 3803 00      No Name or Sender      2424 ELVANS RD SE
                                                 Address on Parcel      APT 201
                                                                        Washington DC 20020-3588
8.          (P) 9505 5065 6461 1179 3802 87      No Name or Sender      2424 ELVANS RD SE
                                                 Address on Parcel      APT 201
                                                                        Washington DC 20020-3588

       2.      The facts set forth in this Affidavit are based on my personal knowledge as well as

that of other law enforcement officers involved in this investigation. All observations that were

not made personally by me were relayed to me by persons with personal knowledge. This

Affidavit contains only that information which is necessary to establish probable cause to support

the requested search warrant. It is not intended to include each and every fact observed by or made

known to law enforcement.

II.    Affiant’s Training and Experience

       3.      I, Andrey Taveira Da Silva, have been a United States Postal Inspector since

February 2015 and have completed 12 weeks of basic investigative training in Potomac, Maryland,
         Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 8 of 14




which included various aspects of federal law enforcement including the investigation of narcotics-

related offenses. As part of my duties as a United States Postal Inspector, I investigate the use of

the U.S. Mails and private parcel carriers, to illegally transport controlled substances and drug

trafficking instrumentalities, in violation of Title 21, United States Code, Sections 841(a)(1),

843(b), and 846. I have participated in numerous interdictions, control deliveries, seizures, and

search warrants, which resulted in criminal arrest and prosecution.          I am assigned to the

Washington, DC and Southern Maryland Contraband Interdiction and Investigations (“CI2”)

Team. This team investigates cases in which the mail and private parcel carriers used to transport

controlled substances. As a result, I am familiar with the use, effects, distribution techniques,

appearance, methods of manufacture of controlled substances, and I am aware that Priority Mail

Express and Priority Mail services are regularly used by narcotic traffickers to ship controlled

substances and bulk cash through the U.S. Mail.

       4.      Based upon my training and experience in the field of narcotic interdiction through

the mail, I know that there are suspicious characteristics common to many packages that contain

narcotics, controlled substances or the proceeds thereof (i.e. U.S. currency). These factors, more

fully detailed below, are used to identify packages requiring further investigation. In the case of

this search warrant, several of these factors were identified for the parcel, which was alerted to by

the drug detection canine. The most common factors or suspicious characteristics routinely

observed in the course of screening packages are as follows:

             a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the U.S. Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and
         Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 9 of 14




time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug

packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your Affiant’s experience, it is

fairly easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail

Express and Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use

Priority Mail Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the mail,

the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. Your Affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a
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search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents.    Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Nevada, Washington, Colorado, Puerto Rico and Florida

(among others, including countries such as China, Netherlands, and various African nations) can

also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your Affiant

has also observed excessive glue on the flaps of narcotics parcels as well.
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               g.      Click-N-Ship: The U.S. Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”

states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

       5.      It is your Affiant’s experience that when these factors are observed, a drug detection

canine will likely “alert” next to the parcel, indicating that the dog has detected the odor of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

III.   Probable Cause

       6.      On June 29, 2021, your Affiant identified the Subject Parcels as inbound to the

target locations from Tarzana, CA. Through my training and experience your Affiant knows the

area to be a source of narcotics to include marijuana, methamphetamine, and cocaine.

Additionally, all of the Subject Parcels had no listed recipient name nor did they have a listed

return address. Through training and experience, your Affiant knows this to be consistent with

parcels containing narcotics that are shipped through the US Mail.

       7.      On July 1, 2021, the Subject Parcels was removed from the mail stream. The

following factors or suspicious characteristics are present on the Subject Parcels:
       Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 12 of 14




Subject    From       Weight:          Label:      Senders name      Recipients Canine
Parcel     Source                                  associated with   name       Alert?
Express    State:                                  address? Yes /    associated
or                                                 No                with
Priority                                                             address?
                                                                     Yes / No

                                       9505 5065    No Name or
                                                                     No Name
Priority   Yes – CA   15 lbs 8.8 oz.   6461 1179   Sender Address                  Yes
                                                                     on Parcel
                                        3802 63       on Parcel


                                       9505 5065    No Name or
                                                                     No Name
Priority   Yes – CA   9 lbs 9.8 oz.    6461 1179   Sender Address                  Yes
                                                                     on Parcel
                                        3802 49       on Parcel


                                       9505 5065    No Name or
                       16 lbs 12.6                                   No Name
Priority   Yes – CA                    6461 1179   Sender Address                  Yes
                           oz.                                       on Parcel
                                        3802 25       on Parcel


                                       9505 5065    No Name or
                                                                     No Name
Priority   Yes – CA   17 lbs 3.2 oz.   6461 1179   Sender Address                  Yes
                                                                     on Parcel
                                        3802 01       on Parcel


                                       9505 5065    No Name or
                                                                     No Name
Priority   Yes – CA   16 lbs 4.2 oz.   6461 1179   Sender Address                  Yes
                                                                     on Parcel
                                        3802 24       on Parcel


                                       9505 5065    No Name or
                                                                     No Name
Priority   Yes – CA   17 lbs 7.8 oz.   6461 1179   Sender Address                  Yes
                                                                     on Parcel
                                        3803 48       on Parcel


                                       9505 5065    No Name or
                                                                     No Name
Priority   Yes – CA   17 lbs 7.4 oz.   6461 1179   Sender Address                  Yes
                                                                     on Parcel
                                        3803 00       on Parcel
           Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 13 of 14




                                                   9505 5065         No Name or
                                                                                          No Name
    Priority    Yes – CA        17 lbs 3.2 oz.     6461 1179        Sender Address                            Yes
                                                                                          on Parcel
                                                    3802 87            on Parcel



           8. On July 2, 2021, the Subject Parcels were placed in an open area amongst empty

dummy parcels at a U.S. Postal Inspection Service Domicile Office. At that time, narcotic

detection canine, Max 1, was brought forward to scan the boxes, which included the Subject Parcels.

The canine handler for Max, Detective Vincent Witkowski (Washington DC Metropolitan Police),

observed Max and then informed law enforcement agents that Max alerted to the odor of narcotics

in the Subject Parcels.

          10.    Your Affiant submits that based upon the above indicators reflected in the Subject

Parcels described herein, based upon my training and experience, and based upon the alert of the

trained canine on the Subject Parcels, the Affiant believes there is probable cause that the above-

described Subject Parcels contain narcotics, controlled substances, the proceeds thereof, or the

other items listed in Attachment B.




1
         Max was most recently certified in June 17, 2021, to alert on odors of marijuana (THC), cocaine, heroin,
ecstasy (MDMA), and methamphetamine and is trained to ensure his accuracy. Detective Vincent Witkowski,
Washington DC Metropolitan Police, is the handler for Max.
        Case 1:21-sw-00191-GMH Document 1 Filed 07/07/21 Page 14 of 14




VI.    Conclusion

       11.    Based on the forgoing, I request that the Court issue the proposed search warrant.


                                                 Respectfully submitted,

                                                 ______________________________
                                                 Andrey Taveira Da Silva
                                                 U.S. Postal Inspector
                                                 U.S. Postal Inspection Service



Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3) this 7th day of July, 2021.


                                                 ____________________________________
                                                 The Honorable G. Michael Harvey
                                                 U.S. Magistrate Judge
